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                 EXHIBIT 11
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                                                    U.S. Department of Justice
                                                    Civil Division

MFH:JB:JNeal
46-18-1921

                                                    P.O. Box 261, Ben Franklin Station Tel: (202) 307-0405
                                                    Washington, D.C. 20044             Fax: (202) 305-7797

                                                    December 7, 2006

BY ELECTRONIC TRANSMISSION

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                Re:   U.S. ex rel Ven-A-Care of the Florida Keys v. Abbott Laboratories,
                      CA No. 06-11337, MDL No. 1456/No. 01-12257-PBS; U.S. ex rel. Ven-a-
                      Care of the Florida Keys Inc v. Dey , MDL No. 1456/Civil Action No. 05-
                      11084

Dear Counsel:

        We are in receipt of the Notice of Deposition served upon the Department of Health and
Human Services (“HHS”) on November 22, 2006, seeking the testimony of Nancy Molyneaux.
Ms. Molyneaux is a program analyst in the Office of the Inspector General’s Office of Evaluation
and Audits. We are concerned that much of Ms. Molyneaux’s prospective testimony will be
covered by the deliberative process privilege. For this reason, we ask that you advise us of the
topics that you intend to cover with Ms. Molyneaux. Provision of such a list of topics would
enable the parties to address and discuss any areas of disagreement in advance of the deposition,
increasing the efficiency of the discovery process.

       Also, we believe the AWP MDL proceeding contemplates that Dey participate in these
depositions or waive its right to re-notice them. Please let us know by Monday, December 11, if
Dey disagrees.
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                                                 -2-
       Finally, in order to accommodate the schedules of Ms. Molyneaux and the government’s
counsel, we ask that you agree to schedule the deposition after the end of the year – preferably
the week of January 8, 2007.

       I appreciate your consideration of these matters, and look forward to hearing from you.




                              Sincerely,

                              /s/ John K. Neal

                              John K. Neal
                              Trial Attorney
                              Fraud Section
